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8
                                  UNITED STATES DISTRICT COURT
9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN FRANCISCO DIVISION
11
12
     UNITED STATES OF AMERICA,                    )       No. CR 06-0144 JSW
13                                                )
             Plaintiff,                           )
14                                                )
        v.                                        )
15                                                )       STIPULATION AND
     RENATO MENDOZA MEDINA,                       )       [PROPOSED] ORDER REGARDING
16     a/k/a Rene Mendoza Medina,                 )       EXCLUSION OF TIME
     PHYLLIS REYES CUISON,                        )
17     a/k/a Phyllis Cundangan Reyes, and         )
     RAWLIN CUNDANGAN REYES,                      )
18                                                )
             Defendants.                          )
19                                                )
20      The defendants came before the Court for a status/trial setting appearance on April 20, 2006.
21   The matter was set over until June15, 2006 at 2:30 p.m. before the Court for a status hearing.
22   The parties agreed, and the Court found, that the time between April 20, 2006 through June 15,
23   2006 is properly excluded under the Speedy Trial Act, Title 18, United States Code, Sections
24   3161(h)(8)(A) and (h)(B)(ii) and (iv). The parties agree, and the Court previously found that,
25   that the case was complex, due to the nature of the crime, the number of different entities, bank
26   accounts, and identities involved, and the large amount of discovery which the defense needs to
27   review. The defendants represented that this delay is necessary so that they can review discovery
28   and hire an expert to analyze the various bank accounts. Due to the complexity of this matter and
     the need for the defendants to prepare their case by using an expert to analyze the various
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1    accounts, failure to grant the requested continuance would unreasonably deny the defense the
2    reasonable time necessary for effective preparation. The parties agree that the continuance from
3    April 20, 2006 through June 15, 2006 is also necessary due to continuity of defense counsel,
4    given the need for defense counsel to spend time preparing the instant case and other cases
5    during this time period. The parties agree that the ends of justice are served by granting the
6    requested continuance outweigh the best interest of of the public and the defendants in a speedy
7    trial.
8    DATED: 4/25/06                                 /S/ Christina Hua
                                                   CHRISTINA HUA
9                                                  Assistant United States Attorney
10
     DATED: 4/21/06                                 /S/ Cristina C. Arguedas
11                                                 CRISTINA C. ARGUEDAS
                                                   Counsel for Renato Mendoza Medina
12
13   DATED: 4/25/06                                  /S/ Lidia Stiglich
                                                   LIDIA STIGLICH
14                                                 Counsel for Rawlin Cundangan Reyes
15
     DATED: 4/24/06                                 /S/ Ann C. Moorman
16                                                 ANN MOORMAN
                                                   Counsel for Phyllis Reyes Cuison
17
18                                                 ORDER
         For the foregoing reasons, and as stated on the record at the April 20, 2006 hearing in this
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     matter, the Court HEREBY ORDERS the period between April 20, 2006 and June 15, 2006 is
20
     excluded from the speedy trial calculation under Title 18, United States Code, Sections
21
     3161(h)(8)(A) and (h)(B)(ii) and (iv). The Court finds that the failure to grant the requested
22
     continuance would unreasonably deny defense counsel the reasonable time necessary for
23
     effective preparation, given the complexity of this case and the need for continuity of counsel.
24
     The Court finds that the ends of justice served by granting the requested continuance outweigh
25
     the best interest of the public and the defendant in a speedy trial and in the prompt disposition of
26
     criminal cases.
27
     IT IS SO ORDERED.
28
     DATED: April 27, 2006                                 ____________________________
                                                           JEFFREY S. WHITE
                                                           United States District Judge
